                                Jaap Lijbers


                          Allocution Questions


•   What makes you or your case any difference from defendants like
    you and cases like yours? Why should the Judge give YOU a break?

    I am already being deported to a country that is more foreign to me that this
    country. And have a huge path ahead of me of getting my life back together
    and re-unite my family.


•   What, if anything, would you say to the victims of your crime?

    No victims but my daughter.


•   How will your sentence affect your family? What, if anything, would
    you say to your family?

    Daddy messed up. I can never apologize enough. I will never cease being a
    father. There is not a court in the country or a Judge in the land that can
    expect any father to leave his family and children behind. And I won’t.


•   You broke the law! The Judge may be concerned that you will break
    laws in the future. The Judge will consider how the sentence you
    receive will deter or keep you from committing crimes in the future.
    The Judge will also consider the need to protect the public from
    further crimes you may commit. Why should the Judge believe you
    are not a threat or risk? What type or length of sentence is necessary
    to deter or keep you from committing crimes in the future and to
    protect the public.

    I will never, ever do anything that risks even the slightest of me being taken
    away from my family again. I screwed up big time and will never be able to
    apologize to my children enough for not being in their lives for any period of
    time.
•   What is a just punishment for your offense and why?

    I am already being banned and deported from the only place I truly call home
    and being ripped away from my family.


•   Are you a better person now? Why? What are you doing to improve
    yourself no and in the future?

    I’ve learned that I have to do things the right, legal way the first time. When
    I first entered the U.S. I was merely 20 years old and had very short-term
    goals. Now I am getting close to 28 years old and have become a father in the
    country, and have learned the hard way that I have to get things right the
    first time and be more future and long term goal orientated. I try to become
    the best example possible to my daughter.


•   What are your long-term goals? How do you see yourself in a year or
    five years or ten or twenty?

    Continuing being a father by any legal means necessary, however or
    wherever. I am planning on going to Canada and becoming a citizen through
    college in Quebec. Working on becoming a U.S. citizen in the far future.


•   What are your short-term goals? If you go to prison, what are your
    plans? And if you do not go to prison, what are your immediate
    plans? What do you want to accomplish first?

    Keeping in touch with my daughter daily. Doing my time as best as I can.
    Keep good spirits and faith. If/when I go to prison, I will continue doing my
    time in peace and keep positive minded and aimed towards the future.

    If I do not go to prison after my deportation, I am immediately going to work
    on being re-united with my daughter. I am planning on becoming a
    Canadian citizen and move there so I can in the closest proximity possible to
    my girls for them to come visit me and work on legally being able to come
    visit my daughter in America.
•   What are your best attributes? What are your best characteristics?
    What the best things about you as a person?

    I try to be a helping hand, emotional support and friend to anyone in need.

    My friends, children and family can always come to me for help or support
    with anything.


•   What are your best accomplishments? What have you done that you
    are really proud of? What have you done that other people and/or
    your family are proud of?

    Raising and being a father to my daughter & stepdaughter.

    If there is anything in life I have done right, it’s teaching my girls to be
    decent, smart and respectful human beings.
